   Case: 23-10376     Document: 4   Page: 1   Date Filed: 04/12/2023




                     NO._____________ ____________________
____________________________________________________________

        IN THE FIFTH CIRCUIT COURT OF APPEALS
____________________________________________________________
      IN RE HUNTER MOUNTAIN INVESTMENT TRUST,
                          Petitioner
____________________________________________________________
         Original Proceeding from the Bankruptcy Court
                    Northern District of Texas
                    Cause No. 19-34054-slg11
           The Honorable Judge Stacey G. C. Jernigan
____________________________________________________________

     EMERGENCY PETITION FOR WRIT OF MANDAMUS
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         Case: 23-10376     Document: 4       Page: 2   Date Filed: 04/12/2023




                       CERTIFICATE OF EMERGENCY

                             Case No. 23-___________

                      In re: Hunter Mountain Investment Trust

      Pursuant to Rules 21 and 27.3 of the Rules and Internal Operating Procedures

of the United States Court of Appeals for the Fifth Circuit, the undersigned counsel

certifies that the facts supporting emergency consideration of the mandamus are true

and complete.

      Petitioner requests emergency consideration of this Petition for Writ of

Mandamus because Petitioner has no other adequate means to attain the desired and

necessary relief, particularly after the Northern District Court’s refusal to certify

Petitioner’s interlocutory appeal on April 11, 2023. Emergency consideration is

requested because, due to the Bankruptcy Court’s erroneous Order Denying

Application for Expedited Hearing, on March 28, 2023, Petitioner was denied its due

process rights to obtain leave (as required under the Plan) to file claims individually

and, derivatively on behalf of the Reorganized Debtor and the Highland Claimant

Trust. An emergency now exists because of a fast-approaching date, April 16, 2023,

which one or more of the Proposed Defendants now claims is the expiration of the

statute of limitations concerning some of Petitioner’s common law claims.

      Petitioner’s Proposed Adversary Proceeding focuses on the improper use of

material non-public information in the acquisition of approved unsecured claims.
                                          1
         Case: 23-10376     Document: 4       Page: 3   Date Filed: 04/12/2023




These purchases (or claim transfers) occurred at various points in time and involved

different sellers and different purchases prices. The first trade or sale at issue

occurred on April 16, 2021, in the amount of approximately $23,000,000.00.

Petitioner is seeking, inter alia, the equitable disallowance or, alternatively,

equitable subordination of this and the other improperly purchased claims. Petitioner

also seeks, inter alia, the imposition of constructive trusts based upon unjust

enrichment and disgorgement of all ill-gotten profits. Petitioner seeks to bring these

claims on behalf of itself and as a derivative action on behalf of the Reorganized

Debtor and the Highland Claimant Trust.

      Petitioner will suffer irreparable harm and it is being denied due process

because the Bankruptcy Court’s erroneous Order Denying Application for Expedited

Hearing indulges the arguments of one or more of the Proposed Defendants,

effectively allowing them to argue a shortened limitations period. If emergency

mandamus relief is not granted, at least one of the Proposed Defendants has stated

that it will seek to assert a limitations affirmative defense which otherwise would

not exist.

      Petitioner believes action is now necessary no later than April 12, 2023, so

that an expedited notice can be issued scheduling the Emergency Motion for Leave

for hearing and determination on or before April 13, 2023.


                                          2
        Case: 23-10376     Document: 4       Page: 4   Date Filed: 04/12/2023




      Petitioner further certifies that opposing counsel was advised by telephone on

April 11, 2023, of the intent to file this emergency mandamus.

Dated: April 11, 2023


                                      /s/Sawnie A. McEntire__________
                                      Sawnie A. McEntire
                                      Counsel of Record for Petitioner




                                         3
         Case: 23-10376     Document: 4       Page: 5   Date Filed: 04/12/2023




                 CERTIFICATE OF INTERESTED PARTIES

                             Case No. 23-___________

                      In re: Hunter Mountain Investment Trust

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

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        Case: 23-10376      Document: 4       Page: 6   Date Filed: 04/12/2023




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       Case: 23-10376    Document: 4       Page: 7   Date Filed: 04/12/2023




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       Case: 23-10376      Document: 4       Page: 8   Date Filed: 04/12/2023




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                                         7
        Case: 23-10376    Document: 4       Page: 9   Date Filed: 04/12/2023




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Dated: April 11, 2023

                                     /s/Sawnie A. McEntire__________
                                     Sawnie A. McEntire
                                     Counsel for Petitioner




                                        8
           Case: 23-10376                 Document: 4              Page: 10            Date Filed: 04/12/2023




                                             TABLE OF CONTENTS

CERTIFICATE OF EMERGENCY .................................................................................1

CERTIFICATE OF INTERESTED PARTIES ..............................................................4

TABLE OF CONTENTS .....................................................................................................9

TABLE OF AUTHORITES ............................................................................................. 10

I.       STATEMENT OF THE CASE ........................................................................... 11

II.      RELIEF SOUGHT ................................................................................................. 14

III.     ISSUE PRESENTED ............................................................................................ 15

IV.      BACKGROUND .................................................................................................... 15
  A.     Procedural Background............................................................................................. 15
  B.     Emergency Motion for Leave to File Verified Adversary Proceeding ................ 18
  C.     Mandamus is Necessary Due to Denial of Interlocutory Appeal ......................... 22

V.       STANDARD OF REVIEW ..................................................................... 24

VI.      REASONS THE WRIT SHOULD ISSUE .............................................. 25
  A.     No Other Adequate Means to Attain Desired Relief.............................................. 25
  B.     Clear and Indisputable Right to Emergency Motion for Leave ............................ 27
  C.     Desired Relief is Appropriate ................................................................................... 30

VII.        PRAYER ................................................................................................................ 32

CERTIFICATE OF COMPLIANCE ............................................................................. 34




                                                                  9
          Case: 23-10376           Document: 4          Page: 11        Date Filed: 04/12/2023




                                   TABLE OF AUTHORITIES

Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81 (2004) ............................ 24

In re A&D Ints., Inc., 33 F.4th 254, 256 (5th Cir. 2022) ..................................... 25,26

In re Barrier, 776 F.2d 1298 (5th Cir. 1985) (per curiam)....................................... 24

In re Chesson, 897 F.2d 156, 159 (5th Cir. 1990) ...................................................... 24

In re Dresser Industries, Inc., 972 F.2d 540, 543 (5th Cir. 1992) .......................... 24

In Re Grand Jury Subpoena, 190 F.3d 375, 389 (5th Cir. 1999)............................ 24

In re Itron, Inc., 883 F.3d 553, 567–68 (5th Cir. 2018) ...................................... 24, 26

In re Lieb, 915 F.2d 180, 186 (5th Cir. 1990).............................................................. 24

In re Schlumberger Tech. Corp., 818 F. App’x 304, 306 (5th Cir. 2020) ............ 26

In re Volkswagen of Am., Inc., 545 F.3d 304, 311 (5th Cir. 2008)......................... 24

Newby v. Enron Corp., 542 F.3d 463, 470 (5th Cir. 2008) ................. 25.27,28,29

Schillinger v. Union Pac. R.R. Co., 425 F.3d 330, 334 (7th Cir.2005) .............. 29




                                                      10
         Case: 23-10376        Document: 4       Page: 12     Date Filed: 04/12/2023




                                I. STATEMENT OF THE CASE

       On March 31, 2023, the Honorable Judge Stacey G. C. Jernigan (“Judge

Jernigan”), Presiding Judge in the underlying bankruptcy proceedings, signed an

Order Denying Application for Expedited Hearing [DE #3700] (the “Order Denying

Expedited Hearing”). 1 This order denied Petitioner Hunter Mountain Investment

Trust’s Opposed Application for Expedited Hearing on Emergency Motion for

Leave to File Verified Adversary Proceeding [Doc. 3700] (Appx_0391-0397)

(“Application”) regarding Petitioner Hunter Mountain Investment Trust’s

Emergency Motion for Leave to File Verified Adversary Proceeding [Doc. 3699]

(Appx_0004-0390) (“Emergency Motion for Leave”).2 In doing so, Judge Jernigan

appears to have sided with the Proposed Defendants who argued that the Bankruptcy

Court should use local motion practice procedures to effectively shorten state law

statute of limitations. A writ of mandamus should be issued requiring Judge Jernigan




1
  Doc. 3713 [Appx_0001-0003]. Unless otherwise referenced, all references to evidence involving
documents filed in the Debtor’s bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D.
Tex.)) are cited by “Doc.” reference. HMIT asks the Court to take judicial notice of the documents
identified by such entries.
2
  The Order Denying Expedited Hearing also required counsel to “contact the Courtroom Deputy
for a setting on the Motion for Leave, which setting shall be no sooner than April 19, 2023” (the
“Contact Order”). This Contact Order, too, was an abuse of discretion and is a subject of this
mandamus.

                                               11
           Case: 23-10376      Document: 4      Page: 13     Date Filed: 04/12/2023




to vacate the Order Denying Expedited Hearing,3 to conduct an immediate hearing

on the Emergency Motion for Leave and, further, directing that local motion practice

cannot be used in such a manner that has the effect of shortening the potential statute

of limitations period due to application of the Gatekeeper Provisions (defined

herein).

       Under the procedural posture of this case, the Order Denying Expedited

Hearing and its denial of Petitioner’s Application was an abuse of discretion. The

Order Denying Expedited Hearing was immediately appealed, on April 5, 2023, to

the United States District Court, under Case No. 3:23-cv-00737-N, the Honorable

David C. Godbey presiding. Petitioner’s Notice of Appeal was then immediately

followed by a Motion to Expedite Briefing, which remained pending until April 11,

2023, when the United States District Court denied certification of the interlocutory

appeal. 4 Accordingly, Petitioner has no other available remedy.

       The Emergency Motion for Leave seeks leave to file an Adversary Proceeding

in accordance with the Bankruptcy Court’s “gatekeeping” orders, as well as the

injunction and exculpation provisions in the Fifth Amended Plan of Reorganization



3
 Including, but not limited to, the Contact Order within the Order Denying Expedited Hearing
[Appx_0003].
4
 Order (denying motion for leave to file interlocutory appeal), dated April 11, 2023, Doc. 10 in
Case No. 3:23-cv-00737-N [Appx_1105-1106].

                                              12
         Case: 23-10376        Document: 4      Page: 14      Date Filed: 04/12/2023




of Highland Capital Management, L.P. (Doc. 1943), as modified (the “Plan”)

(collectively “Gatekeeper Provisions”). An expedited hearing was requested under

Fed. R. Bank P. 9006 (c)(1), which authorizes a shortened time for a response and

hearing for good cause. As explained in the Application, good cause existed because

of an impending potential statute of limitations. It is now clear that one more of the

opposing parties does seek to bar one or more of Petitioner’s claims before the

Emergency Motion for Leave is decided. 5 In response to the Application, the

opposing parties argued that local motion practice—requiring a twenty-one day

response time—required the Petitioner to file a motion for leave to file its adversary

proceeding long before any statute of limitations runs so that the Bankruptcy Court

could adjudicate the motion according to its local practice (and however long it takes

the Bankruptcy Court to issue its decision). These parties argued to the Bankruptcy

Court that diverting from local motion practice would prejudice them because they

should, in effect, be entitled to a shortened statute of limitations based upon the

Gatekeeper Provisions. In denying the Application, the Bankruptcy Court apparently

agreed with this argument and abused its discretion by allowing its gatekeeping

function to be weaponized. The Order Denying Expedited Hearing places one or


5
 It is evident that at least one of the Proposed Defendants in the proposed Adversary Proceeding
will contend that a two-year statute of limitations regarding one or more proposed claims by
Petitioner will run on or about April 16, 2023. See Seery’s Objection to HMIT’s Application, Doc.
3707 [Appx_0403-410].

                                               13
         Case: 23-10376         Document: 4       Page: 15      Date Filed: 04/12/2023




more of Petitioner’s proposed claims at risk by enabling the Proposed Defendants to

claim a limitations defense that would not otherwise exist. A Writ of Mandamus

should be issued to vacate the Order Denying Expedited Hearing, to allow Petitioner

to have a timely expedited hearing on its Emergency Motion for Leave and, in any

event, to allow Petitioner to file its Adversary Proceeding before April 16, 2023, to

assure its proposed claims are timely asserted and that none is potentially barred by

a limitations defense, and to vacate the Contact Order.6

       After the District Court’s refusal to certify Petitioner’s interlocutory appeal,

Petitioner has exhausted every other possible avenue for relief. Therefore, this

mandamus proceeding is necessary.

                                      II. RELIEF SOUGHT
       An order vacating the Order Denying Expedited Hearing and directing the

presiding bankruptcy judge, Judge Jernigan, to grant Petitioner’s Application for

Expedited Hearing on Emergency Motion for Leave to File Adversary Proceeding


6
  Petitioner filed its Emergency Motion for Leave and related Application after Petitioner recently
pursued discovery to investigate the prospective claims against several of the Proposed
Defendants, as defined in this Petition for Mandamus, via Petitioner Hunter Mountain Investment
Trust’s Verified Rule 202 Petition (seeking discovery pursuant to Rule 202 of the Texas Rules of
Civil Procedure) filed January 20, 2023, in Cause No. DC-23-01004; In Re: Hunter Mountain
Investment Trust; In the 191st Judicial District Court of Dallas County, Texas (the “Rule 202
Proceeding”). Petitioner pursued the Rule 202 Proceeding to obtain discovery to further investigate
potential claims. Although Petitioner’s petition in the Rule 202 Proceeding was unfortunately
denied, Petitioner’s efforts in the Rule 202 Proceeding further demonstrate Petitioner’s diligence.
Petitioner requests that this Honorable Court take judicial notice of the Rule 202 Proceeding public
record for these purposes.

                                                14
        Case: 23-10376     Document: 4    Page: 16    Date Filed: 04/12/2023




and set Petitioner’s Emergency Motion for Leave to File Adversary Proceeding

(“Emergency Motion for Leave”) for hearing on expedited notice so that the

Emergency Motion for Leave is heard and determined on or before April 13, 2023,

providing Petitioner a remaining opportunity to challenge the Bankruptcy Court’s

decision, if necessary.

                               III. ISSUE PRESENTED

                                    ISSUE ONE
      Whether the Bankruptcy Court abused its discretion in relying on local motion

practice to deny Petitioner’s Opposed Application for Expedited Hearing on

Emergency Motion for Leave to File Verified Adversary Proceeding to shorten the

limitations period (as now argued by one or more of the Proposed Defendants),

thereby creating an affirmative defense argument that otherwise would not exist.

                                IV. BACKGROUND

A.    Procedural Background

      On October 16, 2019, the Highland Capital Management, LP, the Original

Debtor (“Original Debtor”), filed a voluntary petition for relief under Chapter 11 of

the Bankruptcy Code in Delaware Bankruptcy Court, which was later transferred to




                                         15
           Case: 23-10376       Document: 4      Page: 17     Date Filed: 04/12/2023




the Bankruptcy Court for the Northern District of Texas, Dallas Division, on

December 4, 2019.7

         On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—

the Redeemer Committee of the Highland Crusader Fund (“Redeemer”); Acis

Capital Management, L.P. and Acis Capital Management GP, LLC (collectively

“Acis”); and UBS Securities LLC and UBS AG London Branch (collectively

“UBS”)—and an unpaid vendor, Meta-E Discovery. 8

         Following the venue transfer to Texas, on December 27, 2019, the Debtor

filed its Motion of the Debtor for Approval of Settlement with the Official Committee

of Unsecured Creditors Regarding Governance of the Debtor and Procedures for

Operations in the Ordinary Course (“Governance Motion”). 9 On January 9, 2020,

the Court signed a Governance Order granting the Governance Motion.10

         As part of the Governance Order, an independent board of directors—which

included Seery as one of the selections of the Unsecured Creditors Committee—was



7
 Doc 1, Order Transferring Venue of this Case to the United States Bankruptcy Court for the
Northern District of Texas.
8
    See Doc. 2, Docket Sheet (Notice of Appointment of Creditors’ Committee, dated October 29).
9
    Doc. 281.
10
     Doc. 339.

                                               16
            Case: 23-10376      Document: 4     Page: 18     Date Filed: 04/12/2023




appointed to the Board of Directors (the “Board”) of Strand, the Original Debtor’s

general partner. The Board then appointed Seery as the Chief Executive Officer in

place of the previous CEO, Mr. James Dondero, as well as the Chief Restructuring

Officer (“CRO”). 11

           On February 22, 2021, the Bankruptcy Court confirmed the Fifth Amended

Plan of Reorganization of Highland Capital Management, L.P. (Doc. 1943), as

modified (the “Plan”), which, inter alia, created the Reorganized Debtor and

provided for the Highland Claimant Trust (“HCT”), which is administered by Seery,

as Claimant Trustee.12 The HCT and the management and monetization of the

“Claimant Trust Assets” are managed by the Claimant Trust Oversight Board which

now includes two of the Proposed Defendants, Muck Holdings, LLC (“Muck”) and

Jessup Holdings, LLC (“Jessup”). 13 The terms of the Highland Claimant Trust are

provided in the Claimant Trust Agreement (“CTA”).14 The Plan also includes

Gatekeeping Provisions, as well as the injunction and exculpation provisions.15




11
     Doc. 854 (order approving retention of Seery as CEO/CRO).
12
     Doc. 1943, p. 33-34 [Appx_923-924].
13
     Id.
14
     Doc. 3521-5 [Appx_1052-1090].
15
     See Doc. 1943, p. 58 [Appx_948].

                                               17
           Case: 23-10376       Document: 4     Page: 19      Date Filed: 04/12/2023




         Upon the Plan’s Effective Date in August 2021, Highland Capital

Management, the Original Debtor, transferred assets, including its causes of action,

to the HCT, including the causes of action set forth in the attached Adversary

Proceeding.

         Prior to the Plan’s Effective Date, Petitioner was the largest equity holder in

the Original Debtor and held a 99.5% limited partnership interest. After the Plan’s

Effective Date (and currently), Petitioner holds a Class 10 Claim as a contingent

Claim Trust Interest under the CTA.16

         Seery currently serves as Trustee of the HCT under the terms of the CTA and

the CEO of the Reorganized Debtor.17 Muck and Jessup both of whom are Proposed

Defendants, control the Oversight Board.

B.       Emergency Motion for Leave to File Verified Adversary Proceeding

         On March 28, 2023, Petitioner filed its Emergency Motion for Leave,18 both

in its individual capacity and derivatively on behalf of the Reorganized Debtor,

Highland Capital Management, L.P. (“HCM” or “Reorganized Debtor”) and the

HCT against Muck, Jessup, Farallon Capital Management, LLC (“Farallon”),



16
     Doc. 3521-5 [Appx_1078].
17
     See Doc. 1943, Order Approving Plan, p. 34 [Appx_923].
18
     Doc. 3699, Emergency Motion for Leave, [Appx_0004-0390].

                                              18
            Case: 23-10376     Document: 4     Page: 20    Date Filed: 04/12/2023




Stonehill Capital Management, LLC (“Stonehill”), Seery and John Doe Defendant

Nos. 1-10 (Muck, Jessup, Stonehill, Farallon, Seery and the John Doe Defendant

Nos. 11-10 are collectively referred to as the “Proposed Defendants”). Petitioner

sought leave pursuant to the Court’s Gatekeeping Provisions.19

           Petitioner’s Emergency Motion for Leave attached a draft of its proposed

Adversary Proceeding, which alleges claims which are substantially more than

“colorable” based upon plausible allegations that the Proposed Defendants, acting in

concert, perpetrated a fraud, including a fraud upon innocent stakeholders, as well

as breaches of fiduciary duty and knowing participation in (or aiding and abetting)

breaches of fiduciary duty. 20 The Adversary Proceeding also alleges that the

Proposed Defendants did so collectively by falsely representing the value of the

Debtor’s Estate, failing to timely disclose accurate values of the Debtor’s Estate, and

trading on material non-public information regarding such values. Petitioner also

alleges that the Proposed Defendants colluded to manipulate the Debtor’s Estate—

providing Seery the opportunity to plant close business allies into positions of

control to approve Seery’s compensation demands following the Effective Date of

the Plan. The proposed Adversary Proceeding alleges remedies that include



19
     Id.
20
     See Proposed Adversary Proceeding [Appx_0041-0069].

                                             19
           Case: 23-10376       Document: 4     Page: 21     Date Filed: 04/12/2023




disgorgement, actual damages, imposition of a constructive trust, equitable

disallowance or, alternatively, equitable subordination.

         Simultaneous with the Emergency Motion for Leave, Petitioner filed its

Application seeking an Expedited Hearing on Emergency Motion for Leave to File

Verified Adversary Proceeding.21 The Application and Emergency Motion for

Leave presented good cause for an expedited hearing, as permitted under Fed. R.

Bank P. 9006 (c)(1), due to an approaching date of April 16, 2023, which at least

one of the Proposed Defendants intends to argue constitutes the expiration of the

statute of limitations concerning some of the common law claims available to

Petitioner, the Reorganization Debtor, and the Claimant Trust. It is clear that Seery

has taken this position and, remarkably, overtly encouraged Judge Jernigan to deny

the Application to provide a limitations defense. 22 Therefore, there is no speculation

as to the opposing parties’ intentions.

         On March 30, 2023, Muck, Jessup, and Stonehill filed objections - as did

counsel John A. Morris, who stated he was responding on behalf of HCM, the HCT,

and Seery, solely in his capacities as Chief Executive Officer of HCMLP and as the




21
     Doc. 3700, the Application [Appx_0391-0397].
22
     See Doc. 3707, Seery’s Objection to Application [Appx_0403-0410].

                                               20
           Case: 23-10376       Document: 4      Page: 22      Date Filed: 04/12/2023




Claimant Trustee (collectively, the ”Objections”). 23 These Objections present no

evidence that the respondents would be prevented from responding to the

Emergency Motion for Leave, nor do they argue that an expedited hearing would

not be in the best interests of the Reorganized Debtor or HTC. Rather, Seery

presented the shocking argument that the expedited hearing should not be allowed

so Seery can assert a statute of limitations defense. 24

         On March 31, 2023, Petitioner filed its Reply in Support of its Opposed

Application for Expedited Hearing and Response to Objections. 25 Just minutes later

on March 31, 2023, the Bankruptcy Court signed the Order Denying Expedited

Hearing.26 The Bankruptcy Court’s opinion, as set forth in the Order Denying

Expedited Hearing, does not specifically negate the good cause presented in the

Emergency Motion and Application; rather, the Order Denying Expedited Hearing

reasons the proposed claims in Adversary Proceeding are “novel” and the “Affected




23
   Docs. 3704, 3707, collectively, the Objections [Appx_0398-0410]. Mr. Morris’ claim that he
represents HCM and HCT is curious, at best, because Petitioner seeks to represent these entities in
a derivative action that would provide significant benefits to the Reorganized Debtor and the HCT.
24
     See Doc. 3707, Seery’s Objection to Application [Appx_0406-409].
25
  Doc. 3712, Hunter Mountain Investment Trust’s Reply in Support of its Opposed Application
for Expedited Hearing and Response to Objections Filed by Respondents [Appx_0411-0417].
26
     Doc. 3713 [Appx_0001-0003].

                                               21
           Case: 23-10376      Document: 4       Page: 23     Date Filed: 04/12/2023




Parties…should be afforded a reasonable opportunity to respond.” 27 However, the

Bankruptcy Court offered no alternative hearing date before April 16, 2023 (more

than two weeks away at the time) - much less a timely alternative hearing date given

existing time constraints - or reasoning that any hearing date before April 16, 2023,

would not be “reasonable.” Moreover, the Order Denying Expedited Hearing is

noticeably silent on its highly prejudicial effect of putting not just Petitioner, but also

the Reorganized Debtor and the HCT, in jeopardy based upon the limitations

arguments advanced in the Objections. Instead, the Bankruptcy Court found that

any emergency was “dubious” on the premise that it “appears” HMIT has known of

the conduct for some time.28 So, the Bankruptcy Court suggests that—because of

the Gatekeeper Provisions and local motion practice—HMIT does not have the

benefit of the full state law statute of limitations, but had to act much earlier to

preserve claims (though this timeline is unknowable, as there is no local practice for

when the Bankruptcy Court would rule on such a motion). This was an abuse of

discretion. For the same reasons, the Contact Order, requiring counsel to “contact

the Courtroom Deputy for a setting on the Motion for Leave, which setting shall be


27
     Doc. 3713 [Appx_0002-0003].
28
   Petitioner disagrees with and reserves all rights regarding the statements in the Order Denying
Emergency Hearing concerning Petitioner’s purported “knowledge” that “appears” to the
Bankruptcy Court; however, for purposes of the matters before this Court, these sua sponte
statements are irrelevant.

                                               22
           Case: 23-10376     Document: 4    Page: 24     Date Filed: 04/12/2023




no sooner than April 19, 2023,” was an abuse of discretion. It is from the Order

Denying Expedited Hearing (which includes the Contact Order) that Petitioner seeks

this Petition for Writ of Mandamus.

C.       Emergency Mandamus is Necessary Due to the Denial of Petitioner’s
         Interlocutory Appeal

         On April 5, 2023, Petitioner filed its Notice of Appeal and Emergency Motion

for Leave to File Interlocutory Appeal in accordance with Rule 8004 of the Federal

Rules of Bankruptcy Procedure.29

         On April 6, 2023, the Bankruptcy Clerk transferred the Notice of Appeal to

the Northern District of Texas, Case No. 3:23-cv-00737-N. Immediately after this,

Petitioner filed its Motion for Expedited Briefing Schedule on Motion for

Interlocutory Appeal.30 Petitioners’ request for expedited briefing also was opposed,

as reflected in objections filed on April 10, 2023. 31 Petitioner also replied to these




29
     Doc. 3721 [Appx_0411-0417].
30
  HMIT’s Motion for Expedited Briefing Schedule on Motion for Interlocutory Appeal in Case
No. 3:23-cv-00737-N, Document No. 4 [Appx_0884-0890].
31
   See Claim Purchasers’ Objection to Hunter Mountain Investment Trust’s Opposed Motion for
Expedited Briefing Schedule on Motion for Interlocutory Appeal in Case No. 3:23-cv-00737-N,
Document No. 8 [Appx_1091-1098]; see also, The Highland Parties’ Objection to Hunter
Mountain Investment Trust’s Opposed Motion for Expedited Briefing Schedule on Motion for
Interlocutory Appeal in Case No. 3:23-cv-00737-N, Document No. 6.

                                            23
           Case: 23-10376       Document: 4     Page: 25     Date Filed: 04/12/2023




objections on the same date -- April 10, 2023.32

         On April 11, 2023, the District Court signed the Order denying Petitioner’s

Emergency Motion for Leave to File Interlocutory Appeal.33 Therefore, Petitioner

has no other adequate means to obtain the relief it desires, and this mandamus is

necessary.

                               V. THE STANDARD OF REVIEW

         Mandamus is the appropriate remedy where a district court has refused to

exercise jurisdiction which it ought to exercise. See, e.g., In re Dresser Industries,

Inc., 972 F.2d 540, 543 (5th Cir. 1992) (“Mandamus is appropriate when the trial

court has exceeded its jurisdiction or has declined to exercise it.”) (emphasis added);

In re Chesson, 897 F.2d 156, 159 (5th Cir. 1990). In addition, the action of the court

below was and can be treated as a “procedural misstep” permitting this Court the

route of “rejecting the flawed procedure and taking steps to correct it by granting

mandamus.” In Re Grand Jury Subpoena, 190 F.3d 375, 389 (5th Cir. 1999).




32
  Hunter Mount Investment Trust’s Combined Response to (1) the “Highland Parties” Objection
to Hunter Mountain Investment Trust’s Opposed Motion for Expedited Briefing Schedule on
Motion for Interlocutory Appeal, and (2) Claim Purchasers’ Objection to Hunter Mountain
Investment Trust’s Opposed Motion for Expedited Briefing Schedule on Motion for Interlocutory
Appeal, dated April 10, 2023, Doc. 9 in Case No. 3:23-cv-00737-N [Appx_1099-1104].
33
     Order, dated April 11, 2023, Doc. 10 in Case No. 3:23-cv-00737-N [Appx_1105-1106].

                                              24
         Case: 23-10376         Document: 4       Page: 26      Date Filed: 04/12/2023




       In the Fifth Circuit, mandamus relief is available to obtain appellate review of

bankruptcy orders, that are otherwise non-appealable.34 The party seeking the writ

must: (1) have “no other adequate means to attain the relief [it] desires,” (2) show

that its “right to issuance of the writ is clear and indisputable,” and (3) be

“appropriate under the circumstances.”35

       Courts are precluded from preventing a party from filing proposed claims due

to local practice for setting motions. See Newby v. Enron Corp., 542 F.3d 463, 470

(5th Cir. 2008) (“In effect, the district court was requiring [movant] either to file a

motion for leave at least twenty days before the statute of limitations expired—or

perhaps even earlier if the district court did not rule on the motion in time.”).

                         VI. REASONS THE WRIT SHOULD ISSUE

A.     No Other Adequate Means to Attain Desired Relief

       Immediate mandamus relief is necessary because Petitioner has no adequate

means to obtain its desired relief—a timely hearing and final determination of its

Emergency Motion for Leave before April 16, 2023. An interlocutory appeal was




34
  In re Lieb, 915 F.2d 180, 186 (5th Cir. 1990) (citing In re Barrier, 776 F.2d 1298 (5th Cir. 1985)
(per curiam)); see also, In re Itron, Inc., 883 F.3d 553, 567–68 (5th Cir. 2018) (granting mandamus
where petitioner “exhausted every other opportunity for interlocutory review…including a motion
to certify an interlocutory appeal…”).
35
  In re Volkswagen of Am., Inc., 545 F.3d 304, 311 (5th Cir. 2008) (citing Cheney v. U.S. Dist. Ct.
for D.C., 542 U.S. 367, 380-81 (2004).

                                                25
         Case: 23-10376       Document: 4      Page: 27      Date Filed: 04/12/2023




sought in the Northern District of Texas, Case No. 3:23-cv-00737-N, which included

Petitioner’s request for an expedited schedule. The District Court’s denial of

Petitioner’s motion for leave to file interlocutory appeal exhausts Petitioner’s other

appellate remedies and, without mandamus relief, one or more of the Proposed

Defendants will argue that the applicable statute of limitations will run on some

claims, which will render the issue otherwise moot.36

       Under these circumstances, mandamus relief is appropriate because the

Petitioner is “running up against” a date which will serve as the basis for a claimed

statute of limitations defense, and Petitioner has “exhausted every other opportunity

for interlocutory review” of the Order Denying Expedited Hearing. 37 Additionally,

this Court has found that—where an issue will be moot before an appeal can be

filed—then mandamus is appropriate. See In re A&D Ints., Inc., 33 F.4th 254, 256

(5th Cir. 2022).

       If mandamus does not issue, the opposing parties will argue that the

limitations deadline will run before the underlying Emergency Motion for Leave is




36
 See In re A&D Ints., Inc., 33 F.4th 254, 256 (5th Cir. 2022) (“Because this issue will become
moot before Petitioners can file an appeal, the first requirement [of mandamus] is met.”).
37
   In re Itron, Inc., 883 F.3d 553, 567–68 (5th Cir. 2018) (finding that running up against
impending deadlines demonstrates no other adequate means to attain the relief); see also, In re
Schlumberger Tech. Corp., 818 F. App’x 304, 306 (5th Cir. 2020) (mandamus was “only means”
after district court denied motion to certify interlocutory appeal).

                                              26
          Case: 23-10376         Document: 4       Page: 28       Date Filed: 04/12/2023




resolved—which, if adopted by the Court, will render certain relief sought in

Petitioner’s Application and Emergency Motion for Leave moot.38 Thus, emergency

mandamus is appropriate and necessary because Petitioner has exhausted every other

opportunity for interlocutory appeal, and Petitioner is left with no other adequate

means of relief.

B.     Clear and Indisputable Right to Emergency Motion for Leave

       Petitioner had a clear and indisputable right to have its Emergency Motion for

Leave heard and finally decided well before April 16, 2023, because Petitioner is

entitled to pursue its colorable claims without exposure to the threat of a limitations

defense that otherwise would not exist.

       Petitioner has provided good cause for an expedited hearing because this

Court has found it is an abuse of discretion for a court to use its local practice for




38
   In A&D Ints., Inc., 33 F.4th 254, 256 (5th Cir. 2022), the Fifth Circuit found that where an issue
will be moot before an appeal can be filed, mandamus is appropriate. There, plaintiffs brought
putative collective action over misclassification and wage claims under the Fair Labor Standards
Act (FLSA). The district court granted plaintiffs’ motion for “conditional certification” of the class
but while appeal of that order was pending, the Fifth Circuit issued an opinion doing away with
“conditional certification” for FLSA cases. In light of this change in the law, the district court
vacated its conditional certification order and ordered the parties to conduct preliminary discovery.
Armed with new discovery, the district court granted the plaintiffs’ motion for certification and
issuance of notice. Petitioner then filed a mandamus petition asking the Circuit to vacate the district
court’s order certifying the collective action. The Fifth Circuit explained that it had previously held
that orders facilitating notice to potential opt-in plaintiffs met the requirement for mandamus
“because the issue will be moot after notice is sent.”



                                                 27
           Case: 23-10376       Document: 4    Page: 29   Date Filed: 04/12/2023




setting motions to shorten the statute of limitations. In Newby v. Enron, this Court

held that the district court erred when finding it would not adjudicate a motion for

leave on the merits and allowed the applicable statute of limitations to otherwise run.

In other words, as shown below, Newby v. Enron makes clear that a motion for leave

should be heard prior to any applicable limitations deadline. Here, however, counsel

for Seery clearly threatened to assert an impending two-year statute of limitations

defense, and -- even more striking and prejudicial -- argued that the Bankruptcy

Court should actively facilitate a limitations defense. Seery, in his objection to the

Application, argued:

         “The putative defendants would be severely prejudiced if the Motion to
         Expedite were granted because it would … likely impair what will
         otherwise be valid affirmative defenses.”39

         …

         “It is hard to imagine a greater prejudice that could be imposed on a
         putative defendant than a court intervening to thwart a complete and
         valid affirmative defense that is on the cusp of ripening….” 40

These statements are stunning in their unfairness. In effect, one of the Proposed

Defendants (Seery) was encouraging the Bankruptcy Court to deprive Petitioner of

due process.



39
     Doc. 3707, p. 6 [Appx_0408].
40
     Doc. 3707, p. 7 [Appx_0409].

                                              28
        Case: 23-10376     Document: 4     Page: 30     Date Filed: 04/12/2023




      In Newby v. Enron, a district court enjoined a law firm from filing any new

actions related to a Chapter 11 debtor without leave of court. The law firm then

moved to file 34 lawsuits in state court. There, the motion for leave was filed on

October 14, 2005, and the statute of limitations of some of the claims expired on

October 17, 2005. The district court denied the motion, in part finding that these

claims would be barred by the applicable statute of limitations by the time the motion

was considered on November 3, 2005. The law firm appealed. The Fifth Circuit

explained that:

      The district court was incorrect, however, in denying the motion for
      leave to file suit for the claims that have a four-year statute of
      limitations. The court did not cite any authority for using its own local
      rules to dictate the state’s filing date for purposes of Texas's relation-
      back principle. In effect, the district court was requiring the Fleming
      Firm either to file a motion for leave at least twenty days before the
      statute of limitations expired—or perhaps even earlier if the district
      court did not rule on the motion in time—or to violate the injunction by
      filing in state court within the limitations period. Cf. Schillinger v.
      Union Pac. R.R. Co., 425 F.3d 330, 334 (7th Cir. 2005) (“The logic
      underlying [using the date of filing for limitations purposes as opposed
      to the date the court rules on the motion] is that defendants are on notice
      of the amendment when the motion is filed and it would be unfair to
      plaintiffs if a trial court waited months or years to rule.”). Thus, the
      district court should have allowed the Texas state courts to decide
      whether the filing of the state petitions relates back to the filing of the
      motion for leave to file suit (for the claims that have a four-year statute
      of limitations), meaning that these claims might not be futile. Because
      the Fleming Firm sought to file these claims before the statute of
      limitations expired, it is up to the state court to determine how to
      proceed. In sum, the district court improperly denied the motion for
      leave to file the claims involving common law fraud and fraud-on-the-
      market (Count I), statutory fraud (Count III), and aiding and abetting
                                          29
        Case: 23-10376      Document: 4     Page: 31     Date Filed: 04/12/2023




      common law fraud (Count VI), because these claims all have a four-
      year statute of limitations, and the Fleming Firm submitted its motion
      for leave to file suit before that limitations period expired.

Newby v. Enron Corp., 542 F.3d at 470. Thus, despite binding precedent that

precludes a Bankruptcy Court from effectively shortening a state law statute of

limitations based on its local practice for setting motions, this is essentially what the

Proposed Defendants asked the Bankruptcy Court to do.

      Allowing the Proposed Defendants to fashion a potential statute of limitations

defense, that would not otherwise exist, is an abuse of discretion because it exposes

Petitioner to unwarranted risks. Petitioner is entitled to immediate relief from the

unfair procedural status it now faces due to the denial of its Application and

interlocutory appeal.

C.    Desired Relief is Appropriate

      The requested mandamus relief is appropriate under the current circumstances

because the requested relief is necessary and in the best interest of the Petitioner as

well as the Reorganized Debtor and the HCT. The Proposed Defendants presented

no evidence there was not good cause for the relief requested, nor that it was not for

the benefit and in the interests of the Reorganized Debtor and HCT. There is no

evidence that the Proposed Defendants would be unable to prepare for an expedited

hearing before April 13, 2023.



                                           30
         Case: 23-10376        Document: 4      Page: 32      Date Filed: 04/12/2023




       One or more of the Proposed Defendants is likely a “Protected Party” under

the Plan and, accordingly, subject to the Gatekeeping Provisions, as well as the

injunction and exculpation provisions in the Plan. Furthermore, the bankruptcy court

retains exclusive jurisdiction on matters affecting the Reorganized Debtors’ Estate.

Thus, to the extent that the Protected Parties are subject to the benefits of the

Gatekeeping Provisions, injunctions and exculpation provisions, any statute of

limitations relating to claims asserted against them are likely equitably tolled.

However, it is clear that the Proposed Defendants will argue aggressively against

any equitable tolling.41 However, not all of the Proposed Defendants are Protected

Parties.42 As such, Petitioner should not be exposed to the risks of any further delays

making emergency mandamus relief appropriate.43




41
   All of the Proposed Defendants rejected Petitioner’s request for tolling agreements. See
Correspondence regarding tolling agreements, attached as Exhibits. 2 and 3 to Hunter Mountain
Investment Trust’s Emergency Motion for Leave to File Interlocutory Appeal, dated April 5, 2023,
Doc. 3721-1 in Case No. 19-34054-sgj-11 [Appx_0443-0448].
42
  On April 10, 2023, Muck, Jessup, Farallon and Stonehill filed their Claim Purchasers’ Objection
to Hunter Mountain Investment Trust’s Opposed Motion for Expedited Briefing Schedule on
Motion for Interlocutory Appeal in Case No. 3:23-cv-00737-N, Document No. 8 [Appx_1091-
1098]. Once again, Muck, Jessup, Farallon and Stonehill refused to agree to toll the claims, but
they seek to impose the risk of a future judicial determination concerning equitable tolling on
Petitioner. This is inappropriate because Petitioner timely filed its Emergency Motion for Leave
within any potential statute of limitations, seeking permission from the Bankruptcy Court to
proceed under its Gatekeeping Provisions—almost two (2) weeks ago.
43
  Mr. Seery is clearly urging the bankruptcy court to allow the statute of limitations to run and
expire. On its face, Mr. Seery appears to be arguing against any equitable tolling.

                                               31
        Case: 23-10376     Document: 4    Page: 33    Date Filed: 04/12/2023




      The Bankruptcy Court abused its discretion by depriving Petitioner of a timely

hearing and final disposition of its Emergency Motion for Leave, unnecessarily

facilitating development of a state law statute of limitations affirmative defense by

at least one of the Proposed Defendants, and by ordering counsel to “contact the

Courtroom Deputy for a setting on the Motion for Leave, which setting shall be no

sooner than April 19, 2023.”

                                  VII. PRAYER

      For these reasons, the Bankruptcy Court should be ordered to set Petitioner’s

Emergency Motion for Leave for hearing on expedited notice so the Emergency

Motion for Leave is heard and ruled on before April 13, 2023.

                                           Respectfully Submitted,

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Case: 23-10376   Document: 4    Page: 34   Date Filed: 04/12/2023




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                               33
        Case: 23-10376     Document: 4    Page: 35    Date Filed: 04/12/2023




                      CERTIFICATE OF COMPLIANCE

      Counsel for Petitioner certifies that this document complies with the word

limit of FED. R. APP. P. 21(d)(1) because, this document contains 5346 words.

      Counsel for Petitioner also certifies that this document complies with the

typeface requirements of FED. R. APP. P. 32(a)(5) and the type-style requirements of

FED. R. APP. P. 32(a)(6) because this document has been prepared in a proportionally

spaced typeface using Microsoft Word in Times New Roman, size 14.

      Counsel for Petitioner certifies that (1) the electronic submission is an exact

copy of the paper document (5TH CIR. R. 25.2.1) and (2) the document has been

scanned for viruses with the most recent version of a commercial virus scanning

program and is free of viruses.




                                         34
